     Case 3:08-cr-00079-MCR        Document 1339       Filed 08/18/10    Page 1 of 1


                                                                                Page 1 of 1

                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                               CASE NO.: 3:08cr79/MCR

ROBERT LEIGHTON PENDELL

                                     /
                                         ORDER
       Pending before the court is the Government’s Motion For Reconsideration of the
court’s order granting Defendant’s Motion For Judgment of Acquittal based on the evidence
at the close of the Government’s case at trial. (Doc. 1210). Defendant opposes the
motion. (Doc. 1235). The court has carefully considered the Government’s arguments and
Defendant’s opposition and finds no reason to reconsider its prior ruling. To reiterate,
construing the evidence in the light most favorable to the Government, the court concludes
there was insufficient evidence at the close of the Government’s case for a reasonable jury
to find beyond a reasonable doubt that Defendant was a knowing participant in the specific
conspiracy charged in Count One. Defendant was not a Qualified Consultant of PQI and
not a member of PQI’s executive council. The fact that he may have been present at Q2
offshore conferences does not alone establish his knowing participation in the conspiracy
charged. Additionally, the fact that Defendant may have marketed SORCE is not evidence
of his participation in the conspiracy charged in this case. There was no sufficient
evidence that he knowingly marketed SORCE to PQI customers, and the evidence showed
that unlike other PQI vendors discussed at trial SORCE did not have an exclusive
relationship with PQI and thus had non-PQI customers.
       The Government’s Motion For Reconsideration (doc. 1210) is DENIED.
       DONE and ORDERED this 18th day of August, 2010.


                                           s/   M. Casey Rodgers
                                          M. CASEY RODGERS
                                          UNITED STATES DISTRICT JUDGE
